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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

RAVEN LICENSING LLC,

      Plaintiff,

v.                                                          Case No. 4:19-cv-00112

NORTEK SECURITY & CONTROL LLC,

     Defendant.
____________________________________/

     DEFENDANT NORTEK SECURITY & CONTROL, LLC’S
 AGREED MOTION FOR EXTENSION TO RESPOND TO COMPLAINT

      Defendant NORTEK SECURITY & CONTROL LLC, (hereinafter

“NORTEK”), by and through its undersigned counsel, hereby moves for a twenty

(20) day enlargement of time to respond to Plaintiff’s Complaint, which motion and

requested relief has been agreed to by counsel for Plaintiff, and as grounds therefore,

Defendant NORTEK states:

      1.     Pursuant to Rule 6(b), Fed. R. Civ. P., and N. D. Fla. Loc. R. 6.1 and

7.1, Defendant NORTEK hereby moves this court to permit a twenty (20) day

extension of time within which to file its responsive pleadings to the Complaint.

      2.     On or about March 14, 2019, NORTEK was served with the summons

and a copy of the Complaint in this action. NORTEK’s response to the Complaint

is due on April 4, 2019.
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      3.     Undersigned counsel is desirous of filing a response on behalf of the

Defendant, however, commitments on other files, including out of town travel, have

prevented undersigned counsel from providing full attention to the preparation of

this responsive pleading and thereby from completing the necessary responsive

pleading within the allotted time.

      4.     Counsel for NORTEK requires the requested extension to prepare its

response to the Complaint.

                          Rule 7.1 (B) Certification

      Pursuant to Local Rule 7.1, undersigned counsel or Defendant NORTEK

hereby certifies that counsel for NORTEK has conferred with Plaintiff’s counsel on

April 3, 2019 regarding the requested relief and counsel for Plaintiff agrees to and

does not oppose the relief requested herein.

      Accordingly, Defendant NORTEK respectfully requests that this Court enter

an order granting NORTEK a twenty (20) day extension of time to file and serve its

response to Plaintiff’s Complaint to and until April 24, 2019.

                                       s/Ben A. Andrews____________________
                                       Ben A. Andrews (FBN 0775230)
                                       PENNINGTON PA
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                                       Tallahassee FL 32301
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                                       Attorney for Defendant
                                       Nortek Security & Control, LLC
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 3rd day of April, 2019, a true and correct
copy of the foregoing was filed with the Clerk of Court by using the CM/ECF
system, which will send a Notice of Electronic filing to counsel of record as listed
below:

Howard Wernow                                Of Counsel:
Sand, Sebold, & Wernow Co., LPA              Peter J. Corcoran, III
Aegis Tower, Suite 1100                      Corcoran IP Law, PLLC
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Canton, OH 44718-3615                        Texarkana, TX 75503
Howard.Wernow@sswip.com                      peter@corcoranip.com



      this 3rd day of April, 2019

                                      s/Ben A. Andrews
                                      Ben A. Andrews
